


 



THE STATE OF SOUTH CAROLINA
In The Court of Appeals

  
    
      
The State,&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;
Respondent,
      
    
  

v.

  
    
      
        Robert M. Watkins,&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;
        Appellant.
      
    
  


Appeal From Greenville County
C. Victor Pyle, Jr., Circuit Court 
  Judge

Unpublished Opinion No. 2004-UP-118
Submitted December 23, 2003  Filed February 25, 2004 


APPEAL DISMISSED


  
    
      
Senior Assistant Appellate Defender Wanda P. Hagler, of Columbia, 
  for Appellant.
Attorney General Henry D. McMaster, Chief Deputy Attorney 
  General John W. McIntosh, Assistant Deputy Attorney General Charles H. Richardson, 
  all of Columbia; and Solicitor Robert M. Ariail, of Greenville, for Respondent.
      
    
  

PER CURIAM:&nbsp; Robert M. Watson (Appellant) 
  was convicted of armed robbery and possession of a weapon during the commission 
  of a violent crime.&nbsp; He received concurrent sentences of thirty years in prison 
  and five years in prison, respectively, on the two charges.
On appeal, counsel for Appellant has filed a final 
  brief along with a petition to be relieved as counsel.&nbsp; Appellant has filed 
  a pro se response.&nbsp; After a thorough review of the record pursuant 
  to Anders v. California, 386 U.S. 738 (1967) and State v. Williams, 
  305 S.C. 116, 406 S.E.2d 357 (1991), we dismiss the appeal and grant counsels 
  petition to be relieved.&nbsp; &nbsp;&nbsp;&nbsp;&nbsp; 
APPEAL DISMISSED. [1] 
GOOSLBY, HOWARD, and KITTREDGE, JJ., concur.

 
   
    [1] &nbsp; This case is decided without oral argument pursuant to Rule 215, 
    SCACR.


